Case 23-34815 Document 892-18 Filed in TXSB on 12/10/24 Page 1 of 11




                         EXHIBIT 18
     Case 23-34815 Document 892-18 Filed in TXSB on 12/10/24 Page 2 of 11




                       THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


                                    )
                                    )
 In re:                             )          Chapter 11
                                    )
 GALLERIA 2425 OWNER, LLC,          )          Case No. 23-34815
                                    )
                        Debtor.     )
                                    )
             ________________________________________________

 DECLARATION OF DWARD DARJEAN IN SUPPORT OF EMERGENCY MOTION
       OF JETALL COMPANIES, INC. FOR STAY PENDING APPEAL

PURSUANT TO 28 U.S.C. § 1746, I HEREBY DECLARE AS FOLLWS:

1.     I, DWARD DARJEAN, am the representative of Jetall Companies, Inc. Jetall holds a

lease agreement relating to the Property. It is my understanding that on December 5, 2023, the

owner of the property, Galleria 2425 Owner, LLC, went into bankruptcy. However, the lease is

valid and has never been terminated. Jetall has never been in breach of the covenants of the lease

agreement; in fact, Jetall does not owe any past due rent and has been in full compliance of its

obligations under the lease agreement since the time it was entered into.

2.     After the building was allegedly sold, Houston 2425 Galleria, LLC started eviction

proceedings against Jetall by filing a forcible entry and detainer action before a justice of the peace

in a state court, entitled: Houston 2425 Galleria, LLC v. Jetall Companies, Inc., Cause No.

241100353166 (Harris County Justice of the Peace, Precinct 1 Place 1). At trial, the justice court

ruled that the Houston 2425 Galleria, LLC had provided Jetall insufficient notice and therefore the

court had no jurisdiction over the case. Thereafter, Houston 2425 Galleria, LLC filed a new notice

purporting to give Jetall until December 18, 2024 (30 days from the date of the said notice) to




                                                                                                     1
     Case 23-34815 Document 892-18 Filed in TXSB on 12/10/24 Page 3 of 11




vacate the Property. Additionally, at trial, the justice of the peace entered an order disqualifying

the Houston 2425 Galleria, LLC’s counsel, Jackson Walker, LLP, because that firm had

represented Jetall in previous litigation and had a conflict of interest. The disqualification extended

not only to Jackson Walker, but also to its co-counsels, Pillsbury Winthrop, LLP, including any

case involving a party in the justice of the peace case or the matters and issues relating thereto.

Jetall was a party in that case.

3.      On December 4, 2024, less than a week after Houston 2425 Galleria, LLC provided Jetall

notice to vacate, and before the 30-day period to vacate it promised had expired, Houston 2425

Galleria, LLC went to the bankruptcy court to evict Jetall, asking that the bankruptcy court to

adjudicate a matter that had already been decided against it in the justice court. Nonetheless, It is

my understanding that there is an automatic stay in place in at least two separate bankruptcies.

There is a bankruptcy proceeding that concerns a different entity affiliated with Ali Choudhri

(Jetall’s president), which is pending in the United States Bankruptcy Court for the Western

District of Texas, Austin Division, Cause No.: 24-10120-smr, In re Texas REIT, LLC. In that case,

Osama Abdullatif, a litigant in an adversary proceeding pending in the Southern District that stems

from the Texas REIT bankruptcy, alleged that the debtor in that case is an alter ego of Ali

Choudhri, and that all of Ali Choudhri’s other entities are also alter egos of Ali Choudhri and each

other, including Jetall. Just days before Houston 2425 Galleria, LLC filed its initial emergency

motion in this case, Judge Marvin Isgur determined that that the automatic stay protecting Texas

REIT, LLC probably applies to all of Ali Choudhri’s affiliated entities. But Judge Isgur abstained

from answering that question, referring the question instead to Judge Robinson, who would be

hearing the In re Texas REIT, LLC bankruptcy, to determine the scope of the automatic stay in that

action. Furthermore, on December 4, 2024, Jetall became the subject of an Involuntary Chapter 11




                                                                                                     2
     Case 23-34815 Document 892-18 Filed in TXSB on 12/10/24 Page 4 of 11




Bankruptcy Petition in the United States Bankruptcy Court for the Western District of Texas,

Austin Division, Cause No. 24-11544.

4.     On Friday, December 6, 2024, the bankruptcy court issued an emergency order that Jetall

immediately vacate the Property and remove its personal property from the premises. The

bankruptcy court gave Jetall only five (5) business days to leave, or Houston 2425 Galleria, LLC

would be entitled to seek writs of entry executed through the United States Marshall Service or the

Harris County Sheriff’s Office to complete the eviction.

5.     Unfortunately, notwithstanding the bankruptcy court’s order, there is simply not enough

time for Jetall to vacate the Property; especially, given the state of disrepair in which Houston

2425 Galleria, LLC, the purported new Purchaser, has left the Property. Presently, none of the

elevators in the building are working, as can be seen in the true and correct photographs attached

as Exhibit A. Jetall is a major tenant in the Property. The premises leased by Jetall in this buiding

is filled with heavy furnishings, valuable art, and antiques, which cannot be disassembled and

moved in five days.

6.     Jetall has tried to manage the logistics of moving its offices on an emergency basis, and

received estimates from moving companies to conduct the move. Regrettably, none of the movers

in the entire state of Texas can commit to this rather expedited five-days ultimatum of the

bankruptcy court to vacate the the building. It is essentially impossible. According to an estimate

I obtained from a company called Smooth Moves Texas (a true and correct copy of which is

attached as Exhibit B), it would take “approximately fourteen to twenty-one (14-21) days to

complete” the move, although that estimate “is 100% dependent on access to working elevators.”

7.     I declare under the penalty of perjury, that the forgoing is tire and correct.

       Executed on this 10th day of December, 2024.




                                                                                                   3
Case 23-34815 Document 892-18 Filed in TXSB on 12/10/24 Page 5 of 11




                                                          /s/ Dward Darjean

                                                            Dward Darjean
                                        representative, Jetall Companies, Inc.




                                                                              4
Case 23-34815 Document 892-18 Filed in TXSB on 12/10/24 Page 6 of 11




                         EXHIBIT A
Case 23-34815 Document 892-18 Filed in TXSB on 12/10/24 Page 7 of 11
Case 23-34815 Document 892-18 Filed in TXSB on 12/10/24 Page 8 of 11
Case 23-34815 Document 892-18 Filed in TXSB on 12/10/24 Page 9 of 11




                         EXHIBIT B
     Case 23-34815 Document 892-18 Filed in TXSB on 12/10/24 Page 10 of 11




                                   Smooth Moves Texas

Nate Campbell
175 W 6th St. Suite D
Kemah, TX 77565
(832) 409-7572
nate@smoothmovestexas.com



Date: 12/8/2024



Jetall Companies

2425 W Loop S, Houston, TX 77027

Subject: Estimated Time for Your Move




Dear Mr. Choudhri,

Thank you for choosing Smooth Moves Texas to assist with your upcoming relocation. We
understand how important this move is to you, and our team is committed to ensuring a smooth,
stress-free experience.

After carefully reviewing the details of your move, we estimate that it will take approximately
fourteen to twenty-one (14-21) days to complete. This estimate includes adjustments for fuel,
labor, reassembly and appliances. This is 100% dependent on access to one, or ideally two,
working elevators. Our team of experienced movers will work diligently to complete your move
within the estimated time frame while maintaining the utmost care for your belongings.

We strive to provide transparent communication throughout the process. If you have any
additional requests, changes, or questions about the timeline or services, please don’t hesitate
to contact us.
    Case 23-34815 Document 892-18 Filed in TXSB on 12/10/24 Page 11 of 11



Once again, thank you for trusting Smooth Moves Texas. We look forward to delivering a
seamless moving experience for you.

We look forward to making your move smooth and stress-free!

Nate Campbell | Smooth Moves

(832) 409 - 7572
